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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )                      4:12CR0306-20 KGB
                                             )
RANDY EAKLE                                  )


                                            ORDER

       By Order dated March 19, 2013, a detainer was placed upon the defendant by the Court.

The detainer order is hereby cancelled, and the defendant is released with the conditions as

previously imposed by the Court. See docket entry no. 49 for a list of the conditions of release.

The Court has been advised that the defendant has completed his in-patient treatment, and he is

to be released and returned to chemical-free living. Upon his release from the custody of the

U.S. Marshal, the defendant is to return to Health Resources of Arkansas, McCrory Unit.

       IT IS SO ORDERED this 6 day of May, 2013.




                                                 UNITED STATES MAGISTRATE JUDGE
